
671 S.E.2d 331 (2008)
STATE of North Carolina
v.
Kenneth Dwight POTEAT, II.
No. 350P08.
Supreme Court of North Carolina.
December 11, 2008.
David G. Belser, Asheville, for Poteat.
Chris Z. Sinha, Assistant Attorney General, William D. Kenerly, for State of NC.
Prior report: 187 N.C.App. 813, 654 S.E.2d 84.

ORDER
Upon consideration of the petition filed by Defendant on the 28th day of July 2008 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
